Case 1:11-cv-07550-GBD-SN Document 372-24 Filed 03/03/22 Page 1 of 3




               EXHIBIT 24
             Case 1:11-cv-07550-GBD-SN Document 372-24 Filed 03/03/22 Page 2 of 3




              FLEETSCAPE SUEZ RAJAN, LLC; Experian Powered Business Data
                                                                 December 7, 2021

FLEETSCAPE SUEZ RAJAN, LLC
353 S GRA
LOS ANGELES, CALIFORNIA 90071-


Content/Coverage Date: FILE ESTABLISHED: September 1, 2021



Communications

Website: http://www.smartbusinessreports.com/Main.aspx?link=1009



Company Identifiers
EXPERIAN FILE NUMBER: 511911155



Company Information
Legal Status: CORPORATION



Business Analysis


UNIFORM COMMERCIAL CODE FILINGS (UCC):
   Date Filed: 8/24/2021
   Type: UCC-FILED
   Document Number: U210078777535
   Filing Location: SEC OF STATE CA
   Original Filing Location: CA
   Original Document Number: U210078777

UCC COLLATERAL COUNTS:
  COMPANY HAS 1 UCC FILINGS WITH 1 COLLATERAL ITEM(S).


Experian Powered Business Data
Copyright 2021 Experian Information Solutions, Inc. All Rights Reserved
        Case 1:11-cv-07550-GBD-SN Document 372-24 Filed 03/03/22 Page 3 of 3
                  FLEETSCAPE SUEZ RAJAN, LLC; Experian Powered Business Data



End of Document
